
62 So.3d 682 (2011)
Teresa Lynn WILLS, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-2144.
District Court of Appeal of Florida, Fifth District.
June 1, 2011.
Teresa L. Wills, Ocala, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Rebecca Roark Wall, Assistant Attorney General, Daytona Beach, for Appellee.
GRIFFIN, J.
Teresa Lynn Wills ["Wills"] appeals the denial of her motion for post-conviction relief pursuant to Florida Rule of Criminal Procedure 3.850. Wills has raised fifteen claims of ineffective assistance of trial counsel, one claim of cumulative error and three claims of trial court error. We have painstakingly examined all the claims properly raised under rule 3.850 and find no merit to any.
AFFIRMED.
EVANDER and JACOBUS, JJ., concur.
